Case 1:20-cv-01191-WCB Document 76-1 Filed 07/22/22 Page 1 of 5 PageID #: 1359




                  EXHIBIT A
    Case 1:20-cv-01191-WCB
                   Plan     Document 76-1
                         My Bookings Hotels Filed 07/22/22 Page 2 ofSign
                                             Car hire                 5 PageID
                                                                         up Log #:
                                                                                in 1360




Terms of Use


 Terms of Use of the Ryanair Website

 1. General
 The owner of this website is Ryanair DAC, an Irish company, No 104547, located at Ryanair
 Dublin O ce, Airside Business Park, Swords, Co. Dublin, Ireland (“Ryanair”). By using this
 website or its content, whether directly or through a third party, you agree to be legally bound by
 and act in accordance with these Terms of Use. In particular you agree not to do the acts
 prohibited under paragraphs 3 to 7 below. If you disagree with these Terms of Use, you are not
 permitted to, and agree not to, use this website or its content.


 2. Exclusive online distribution channel.
 This website is the only website authorised to sell Ryanair Group ights (where “Ryanair Group”
 includes Ryanair DAC, Ryanair Sun, Ryanair UK, Laudamotion and Malta Air), whether on their
 own or together with any other services. Price comparison websites may apply to enter into a
 written Licence Agreement with Ryanair, which permits such websites to access Ryanair Group
 airlines’ price, ight and timetable information for the sole purpose of price comparison.




 3. Permitted use.
 You are not permitted to use this website (including the mobile app and any webpage and/or
data that passes through the web domain at ryanair.com), its underlying computer programs
   Case 1:20-cv-01191-WCB Document 76-1 Filed 07/22/22 Page 3 of 5 PageID #: 1361
(including application programming interfaces (“APIs”)), domain names, Uniform Resource

Locators (“URLs”), databases, functions or its content other than for private, non-commercial
purposes. Use of any automated system or software, whether operated by a third party or
otherwise, to extract any data from this website for commercial purposes (“screen scraping”) is
strictly prohibited.


4. Reservation of all rights to ensure permitted use and/or prevent unauthorised use.
Ryanair reserves the absolute right to take all actions it considers necessary against all parties
howsoever involved in the unauthorised use of its website and without notice, in order to
vindicate its rights and prevent such unauthorised use, including using blocking technology
(which may itself involve conducting automated searches of such parties’ websites, screen
scraping therefrom, causing such parties to screen scrape Ryanair’s website, breaching the
terms of use such parties’ websites, or any similar or associated actions) and/or issuing legal
proceedings.


5. Consent to Ryanair investigating breaches.
Ryanair reserves the absolute right to conduct all necessary investigations (whether by the use
of technology or otherwise) of any breaches of these Terms of Use. By accessing this website,
you consent to Ryanair conducting all necessary investigations to prevent unauthorised use of
its website.


6. Intellectual property.
All information, data, underlying computer programs (including APIs), domain names, URLs,
databases, and materials presented on this website, including names, logos, ight schedules,
prices, etc., as well as the colour scheme and the layout of the website, are subject to copyright,
trade mark rights, database rights and/or other intellectual property rights. You may use such
content only as strictly required for permitted personal, non-commercial purposes. Any other
use and/or reproduction of such content, without the prior written consent of Ryanair, is
prohibited and will constitute a breach of these Terms of Use and may infringe Ryanair’s IP
rights.
   Case 1:20-cv-01191-WCB Document 76-1 Filed 07/22/22 Page 4 of 5 PageID #: 1362
7. Links to this website.

You may not establish and/or operate links to this website without the prior written consent of
Ryanair.


8. Limited liability.
Ryanair will not be held liable for any losses and/or damages arising from the use of this
website or of any other website to which this website provides a link, and/or from the use of
information presented on this or any such other website.


9. Applicable law and jurisdiction.
It is a condition precedent to the use of any Ryanair Group website, including access to
information relating to ight details, costs, etc., that any such party submits to the sole and
exclusive jurisdiction of the Courts of the Republic of Ireland and to the application of the law in
that jurisdiction (except as otherwise provided by mandatory consumer law provisions),
including any party accessing such information or facilities on their own behalf or on behalf of
others. In the absolute and sole discretion of Ryanair, a legal action may be brought by Ryanair
against any party in breach of these terms and conditions, at its election, in Ireland or the place
of breach or the domicile of that party, and, if more than one party, in the domicile of any one of
those parties, and all other parties shall submit to that jurisdiction. For the sake of clarity,
where a passenger or person carried or to be carried pursuant to a contract of carriage with any
of the Ryanair Group airlines wishes to institute proceedings against a Ryanair Group airline on
foot of that contract for carriage, then those proceedings shall be brought by the passenger
solely in accordance with the provisions of the Montreal Convention 1999 and EU Regulation
No. 2027/1997 (as amended by Regulation No. 889/2002) or such further amendment to the
Montreal Convention or further amendment by Regulation as may arise from time to time.




Your Trip                Useful Info               Corporate                 Travel Extras
Online check-in           Help Centre                       Advertise with us                Blog
   Case 1:20-cv-01191-WCB Document 76-1 Filed 07/22/22 Page 5 of 5 PageID #: 1363
Travel Updates            In ight shopping receipts         Careers                          Gift Vouchers
                          View booking history              Corporate website                City Sightseeing
                                                            Investor relations               Reserved seats
                                                            Media centre
                                                            Registered address
                                                            Charities
                                                            Environment



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